                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

UNITED STATES OF AMERICA,

                 Plaintiff,

         vs.                                            Case No. 16-CR-21 (PP)

SAMY M. HAMZEH,

                 Defendant.
________________________________________________________________________

                                   ORDER

     Based on the defendant’s Motion to Seal, it is hereby ORDERED AND

ADJUDGED:

           That the defendant’s Motion to Seal shall be granted.



Date:___________________
                                    Honorable William Duffin
                                    United States District Court Judge




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